           Case 1:21-cr-00327-RC Document 34 Filed 08/10/21 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             §
                                                     §
                                                     §
V.                                                            CAUSE NO. 21-CR-327
                                                     §
                                                     §
LUKE RUSSELL COFFEE                                  §

                UNOPPOSED MOTION FOR CONTINUANCE OF STATUS
                           CONFERENCE HEARING
       TO THE HONORABLE RUDOLPH CONTRERAS, DISTRICT JUDGE OF THE

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA:

       COMES NOW Defendant, Luke Russell Coffee, by and through his attorney of record,

Anthony J. Colton, hereby requests a continuance of the Status Conference Hearing. Mr. Coffee

shows this Honorable Court as follows.

                                                 I
       Mr. Coffee is scheduled to appear before this Court for a status conference hearing on

Monday, August 23, 2021.

                                                II
       Counsel is awaiting additional discovery. Counsel requests that the hearing be reset for at

least an additional sixty (60) days in order to allow time to receive and review the additional

discovery. Mr. Coffee waives his speedy trial rights to allow for this delay. Undersigned

respectfully requests the hearing be reset.

                                          CONCLUSION
       This motion is not made for purposes of delay, but in the interests of justice.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Honorable Court

enter an Order granting this Motion and continue the status conference hearing.
            Case 1:21-cr-00327-RC Document 34 Filed 08/10/21 Page 2 of 3




                                               Respectfully submitted.

                                               MAUREEN SCOTT FRANCO
                                               Federal Public Defender


                                               /S/ ANTHONY J. COLTON
                                               Supervisory Assistant Federal Public Defender
                                               Western District of Texas
                                               200 East Wall St., Room 110
                                               Midland, Texas 79701
                                               Tel.: (830) 703-2040
                                               Attorney for Defendant




                             CERTIFICATE OF CONFERENCE
       I certify that I conferred with Peter Lallas, Assistant United States Attorney, concerning
this motion and he is unopposed to the filing and granting of the same.

                                                              /S/ ANTHONY J. COLTON




                                 CERTIFICATE OF SERVICE
         I hereby certify that on the 10th day of August 2021, I electronically filed the foregoing
 Motion for Continuance with the Clerk of Court using the CM/ECF system which will send
 notification of such filing to the following:


 Peter Lallas
 Assistant United States Attorney


                                                /S/ ANTHONY J. COLTON
                                                Attorney for Defendant
          Case 1:21-cr-00327-RC Document 34 Filed 08/10/21 Page 3 of 3



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        §
                                                §
                                                §
V.                                                        CAUSE NO. 21-CR-327
                                                §
                                                §
LUKE RUSSELL COFFEE                             §


                                           ORDER
       On this date came on to be considered the Defendant’s Motion for Continuance of Status

Conference Hearing, and the Court having considered the premises, is of the opinion that the

same should be and is hereby GRANTED.

       SO ORDERED on this the            day of August 2021.




                                          HONORABLE RUDOLPH CONTRERAS
                                          United States District Judge
